CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage  1 of 27
                                                                     1 of 27




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                            LAREDO DIVISION

                                 )
IN RE:                           )          Civil Action No. 5:22-MC-00111
                                 )
ASSOCIATED PRESS ET AL.          )          FILED EX PARTE AND UNDER
                                 )          SEAL
_________________________________)


   GOVERNMENT’S RESPONSE IN OPPOSITION TO MOTION TO UNSEAL
                      COURT RECORDS
Case 5:22-mc-00111 Document 18 Filed on 12/13/22 in TXSD Page 2 of 27
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage  3 of 27
                                                                     3 of 27




I.     PRELIMINARY STATEMENT

       A group of media organizations (the “Applicants”) ask this Court to take the

unprecedented step of unsealing search warrants and associated materials




                                                                          Applicants fail

to identify any precedent supporting this extraordinary request. Their Application should

be denied.

II.    FACTUAL BACKGROUND

       A.

       Congressman Henry Cuellar represents Texas’s 28th Congressional District, which

includes Laredo, San Antonio, and surrounding areas, in the United States House of

Representatives.




                                           2
Case 5:22-mc-00111 Document 18 Filed on 12/13/22 in TXSD Page 4 of 27
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage  5 of 27
                                                                     5 of 27




                                        4
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage  6 of 27
                                                                     6 of 27




                                        5
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage  7 of 27
                                                                     7 of 27




                                                                       ABC News reported that,

according to “a source familiar with the matter,” the search was conducted as part of a

“wide-ranging federal probe relating to the former Soviet state of Azerbaijan and several

U.S. businessmen.” Mike Levine, FBI raid on House Democrat’s home related to

Azerbaijan     probe,     source       says,         ABC       News      (Jan.       20,    2022),

https://abcnews.go.com/US/fbi-raid-house-democrats-home-related-azerbaijan-

probe/story?id=82384118. An FBI spokesperson issued the following statement: “The FBI

was present in the vicinity of Windridge Drive and Estate Drive in Laredo conducting

court-authorized law enforcement activity. The FBI cannot provide further comment on

an ongoing investigation.” FBI confirm search near Texas home of Rep. Henry Cuellar,

CNBC (Jan. 20, 2022), https://www.cnbc.com/2022/01/20/fbi-confirm-search-near-texas-

home-of-rep-henry-cuellar.html.

       On January 25, 2022, Congressman Cuellar’s campaign posted a video in which

Congressman Cuellar stated that “there is an ongoing investigation that will show that there

was no wrongdoing on my part.” Paul J. Weber and Eric Tucker, US Rep. Cuellar: “No

wrongdoing    on    my   part”     after   FBI       search,   AP     News   (Jan.    25,   2022),

https://apnews.com/article/henry-cuellar-texas-laredo-congress-

59710347d2706f83072eb47f79e5f9df.           On April 13, 2022, Congressman Cuellar’s

attorney stated that “the Justice Department has informed me that Congressman Cuellar is
                                                 6
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage  8 of 27
                                                                     8 of 27




not a target of the investigation.” Eric Tucker and Jake Bleiberg, Lawyer: US Rep. Cuellar

not   the    target   of    FBI    investigation,   AP     News      (Apr.   13,    2022),

https://apnews.com/article/henry-cuellar-congress-laredo-texas-

71b9eac47f989e2fe7e94b28b8c75017. Consistent with Justice Department policy, the

government has never publicly confirmed the existence of or otherwise commented on the

warrants or the investigation beyond the limited statement of the FBI Spokesperson

described above. See JUSTICE MANUAL § 1-7.400 (“DOJ generally will not confirm the

existence of or otherwise comment about ongoing investigations.”).

       C.    The Application to Unseal Court Records




                                                Specifically, Applicants request an order

unsealing “certain records related to search warrants obtained pursuant to Federal Rule of

Criminal Procedure 41 and executed at the Laredo home and campaign office of U.S.

Representative Henry Cuellar on or about January 19, 2022,” to include “the search warrant

applications, any supporting affidavits, the search warrants themselves, the returns, the

docket sheets, and any related judicial records (the ‘Warrant Materials’).” ECF No. 1,

¶¶ 1–2.



       Applicants contend that the common-law qualified right of access to judicial records
                                            7
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage  9 of 27
                                                                     9 of 27




and the First Amendment qualified right of access to criminal proceedings requires the

Court to take the extraordinary step of unsealing the Warrant Materials. That is incorrect.

Search warrants and related materials are not subject to public disclosure in an ongoing

criminal investigation where such disclosure would jeopardize the investigation or unfairly

imply criminal wrongdoing by subjects who may never have an opportunity to contest the

allegations in court. Applicants fail to identify any binding or persuasive authority to the

contrary. For the reasons that follow, the Application should be denied.

III.   APPLICABLE LAW

       A.     The Common-Law Qualified Right of Access

       Courts have long recognized “a general right,” rooted in the common law, “to

inspect and copy public records and documents, including judicial records and documents.”

Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978). Search warrant materials,

including supporting affidavits, are “judicial documents” subject to the common-law right

of access. See United States v. Sealed Search Warrants, 868 F.3d 385, 396 (5th Cir. 2017).

That right, however, “is not absolute.” Nixon, 435 U.S. at 598. Rather, “the decision as to

access is one best left to the sound discretion of the trial court, a discretion to be exercised

in light of the relevant facts and circumstances of the particular case.” Id. at 599. Thus,

“the common law merely establishes a presumption of public access to judicial records.”

S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993).

       In contrast to certain other circuits, the Fifth Circuit “has repeatedly refused” to

“characterize the public access presumption as ‘strong’ or require a strong showing of
                                               8
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     10 of 10
                                                                           27 of 27




 proof.” Vantage Health Plan, Inc. v. Willis-Knighton Med. Ctr., 913 F.3d 443, 450 (5th

 Cir. 2019); see also Belo Broad. Corp. v. Clark, 654 F.2d 423, 434 (5th Cir. Unit A 1981)

 (criticizing the Second and District of Columbia Circuits for “creat[ing] standards more

 appropriate for protection of constitutional than of common law rights”). Instead, the Fifth

 Circuit evaluates assertions of the common-law right of access to judicial records on a

 “case-by-case” basis. Sealed Search Warrants, 868 F.3d at 396. The court must “exercise

 [its] discretion by balancing the public’s right to access judicial documents against interests

 favoring nondisclosure.” Id.

        This “case-by-case” approach applies to “request[s] to unseal affidavits in support

 of pre-indictment search warrants.” Id. The court may, in its discretion, leave such

 materials under seal if it finds that disclosure could “threaten an ongoing investigation,”

 “endanger or discourage witnesses from providing evidence or testimony,” or “damage an

 unindicted target’s reputation while leaving no judicial forum to rehabilitate that

 reputation.” Id. at 395. While the district court enjoys substantial discretion in making

 this determination, “the Fifth Circuit has consistently required the district court to explain

 its decisions to seal or unseal.” Id. The district court “must generally articulate its reasons

 to support sealing the affidavits with a level of detail that will allow for [appellate] review.”

 Id. at 397. “To the extent that the district court would have difficulty explaining its

 reasoning without disclosing sensitive information from the affidavits, it may file its

 reasoning under seal.” Id. at 397 n.5.


                                                9
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     11 of 11
                                                                           27 of 27




        B.     The First Amendment Qualified Right of Access

        The First Amendment creates a right of public access to criminal trials. See Globe

 Newspaper Co. v. Superior Ct. for Norfolk Cnty., 457 U.S. 596, 603–06 (1982). This right

 is not limited to the trial itself but extends to certain other criminal proceedings and records.

 See Press-Enter. Co. v. Superior Ct. of Cal. for Riverside Cnty., 478 U.S. 1, 7 (1986)

 (“Press Enterprise II”) (“[T]he First Amendment question cannot be resolved solely on the

 label we give the event, i.e., ‘trial’ or otherwise.”). To determine whether there is a First

 Amendment right of access to a particular criminal proceeding, courts apply a two-part

 test: “(1) whether the proceeding has historically been open to the public and press; and (2)

 ‘whether public access plays a significant positive role in the functioning of the particular

 process in question.’” In re Hearst Newspapers, L.L.C., 641 F.3d 168, 175 (5th Cir. 2011),

 as revised (June 9, 2011) (quoting Press Enterprise II, 478 U.S. at 8–9). “This test has

 been referred to as the ‘experience’ and ‘logic’ test.” Id.

        Even when the First Amendment right of access attaches, that right “is not absolute.”

 Globe Newspaper, 457 U.S. at 606. When the government seeks to seal a proceeding in

 order to “inhibit the disclosure of sensitive information,” it must show “that the denial is

 necessitated by a compelling governmental interest, and is narrowly tailored to serve that

 interest.” Id. at 606–07. In ordering closure, a court must articulate that interest and make

 “findings specific enough that a reviewing court can determine whether the closure order

 was properly entered.” In re Hearst Newspapers, 641 F.3d at 181 (quoting Press-

 Enterprise II, 478 U.S. at 9–10). The court “must consider any ‘reasonable alternatives to
                                                10
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     12 of 12
                                                                           27 of 27




 closure.’” Id. (quoting Press-Enterprise II, 478 U.S. at 14); United States v. Edwards, 823

 F.2d 111, 119 (5th Cir. 1987) (“[Press-Enterprise II] requires, if closure of a presumptively

 open proceeding is to withstand a first amendment challenge, that the court make specific,

 on-the-record, factfindings demonstrating that a substantial probability exists that an

 interest of a higher value will be prejudiced and that no reasonable alternatives to closure

 will adequately protect that interest.”).

 IV.    ARGUMENT

        Applicants ask this Court to release detailed and sensitive information

                                                                    The unprecedented relief

 they seek has no basis in either the common law or the First Amendment. As to the

 common law, compelling law-enforcement, due process, and privacy interests in favor of

 sealing far outweigh Applicants’ qualified common-law right to access the Warrant

 Materials. As to the First Amendment, there is no First Amendment right to access search

 warrant applications and related documents in an ongoing criminal investigation. And even

 if there were, those same compelling governmental and individual interests necessitate

 continued sealing of the Warrant Materials in this case. The Application to unseal should

 be denied.

        A.     The Common Law Does Not Support Unsealing

        The qualified common-law right of public access to judicial records does not

 support Applicants’ request to unseal the Warrant Materials. The common-law analysis

 requires the Court to “balanc[e] the public’s right to access judicial documents against
                                              11
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     13 of 13
                                                                           27 of 27




 interests favoring nondisclosure.” Sealed Search Warrants, 868 F.3d at 396.




        First, the government has a compelling interest in preserving the integrity of its

 ongoing investigation. The Fifth Circuit has recognized that “[i]f the unsealing of pre-

 indictment warrant materials would threaten an ongoing investigation,” the district court

 may properly “leave the materials under seal.” Sealed Search Warrants, 868 F.3d at 395;

 see also In re Sealing and Non-Disclosure of Pen/Trap/2703(d) Orders, 562 F.Supp. 2d

 876, 895 (S.D. Tex. 2008) (holding, with respect to electronic surveillance orders, that

 “restrictions on speech and public access are presumptively justified while the investigation

 is ongoing”).




        Unsealing the Warrant Materials would therefore reveal a wide range of nonpublic
                                              12
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     14 of 14
                                                                           27 of 27




 information about the “nature, scope and direction of the government’s investigation and

 the individuals and specific projects involved.” In re Search Warrant for Secretarial Area

 Outside Office of Gunn, 855 F.2d 569, 574 (8th Cir. 1988).

        Such revelations could cause the investigation’s subjects to destroy evidence,

 coordinate their stories, or flee the jurisdiction. While these concerns are most acute with

 respect to the affidavits, unsealing the applications, warrants, and returns would also reveal

 nonpublic information about the government’s investigation, such as the criminal statutes

 that the subjects may have violated and the types of evidence the government is gathering.

 This information could allow the subjects to anticipate the direction of the ongoing

 investigation and take steps to hinder or obstruct it. See In re Search Warrants Executed

 on June 14, 2016, 221 F. Supp. 3d 863, 866 (S.D. Tex. 2016) (“[U]nsealing the materials

 would substantially undermine the Government’s ongoing investigation because unsealing

 would reveal sensitive information about the investigation’s nature, scope, and direction,

 and would identify other investigation targets.”); In re Search Warrants in Connection with

 Investigation of Columbia/HCA Healthcare Corp., in El Paso, Tex, 971 F. Supp. 251, 253

 (W.D. Tex. 1997) (“If the contents of the affidavit were revealed, the targets of the

 investigation, as well as the press, would have a roadmap of the investigation. This would

 seriously compromise the integrity and effectiveness of an ongoing investigation.”).

        In addition, unsealing the Warrant Materials “might endanger or discourage

 witnesses from providing evidence or testimony.” Sealed Search Warrants, 868 F.3d at

 395.
                                              13
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     15 of 15
                                                                           27 of 27




                                            For all these reasons, unsealing the Warrant

 Materials would likely severely compromise the government’s ongoing investigation.




       Applicants quote various cases for general statements about the importance of
                                          14
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     16 of 16
                                                                           27 of 27




 public access to judicial records. But none of those cases presents anything like the balance

 of interests present here. Most of the Fifth Circuit authorities on which Applicants rely

 relate to sealing orders entered in civil lawsuits, see ECF No. 1-1, at 11 (citing June

 Medical Servs., LLC v. Phillips, 22 F.4th 512 (5th Cir. 2022), Binh Hoa Le v. Exeter

 Finance Corp., 990 F.3d 410 (5th Cir. 2021), and Bradley on behalf of AJW v. Ackal, 954

 F.3d 216 (5th Cir. 2020)), as do many of their out-of-circuit authorities, see ECF No. 1-1,

 at 10–12, 16 (citing Doe v. Public Citizen, 749 F.3d 246 (4th Cir. 2014), Tri-Cnty.

 Wholesale Distribs, Inc. v. Wine Grp., Inc., 565 F. App’x 477 (6th Cir. 2012), Virginia

 Dep’t of State Police v. Wash. Post, 386 F.3d 567 (4th Cir. 2004), Smith v. U.S. District

 Court, 956 F.2d 647 (7th Cir. 1992), F.T.C. v. Standard Fin. Mgmt. Corp., 830 F.2d 404

 (1st Cir. 1987)). Another Fifth Circuit case that Applicants cite relates to closure of a

 sentencing hearing—a proceeding that, unlike a search warrant application, is adversarial

 and ordinarily open to the public. See ECF No. 1-1, at 12 (citing In re Hearst Newspapers,

 LLC, 641 F.3d 168 (5th Cir. 2011)).

        Three of the out-of-circuit cases Applicants cite involve requests by media outlets

 to copy video and audiotapes that had been admitted into evidence in a criminal trial, and

 therefore were already public. See ECF No. 1-1, at 11, 14 (citing United States v. Beckham,

 789 F.2d 401 (6th Cir. 1986), United States v. Criden, 648 F.2d 814 (3d Cir. 1981), and In

 re National Broadcasting Co., Inc., 635 F.2d 945 (2d Cir. 1980)). One dealt with a district

 court’s decision to seal the docket sheet and all documents and notices filed in the run-up

 to a criminal trial in order to avoid tainting the jury pool, see ECF No. 1-1, at 10 (citing In
                                               15
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     17 of 17
                                                                           27 of 27




 re State-Record, Co., Inc., 917 F.2d 124 (4th Cir. 1990)), and one dealt with a state-court

 practice of sealing thousands of civil and criminal docket sheets without any specific

 justification, see ECF No. 1-1, at 8–11 (citing Hartford Courant Co. v. Pellegrino, 380

 F.3d 83 (2d Cir. 2004)). The remainder of Applicants’ authorities concern search warrant

 materials relating to investigations that had already been closed, a fact that may shift the

 balance of interests. See ECF No. 1-1, at 6, 10, 12–16 (citing In re Los Angeles Times

 Communications LLC, 28 F.4th 292 (D.C. Cir. 2022), In re Leopold to Unseal Certain

 Electronic Surveillance Applications, 964 F.3d 1121 (D.C. Cir. 2020), United States v.

 Business of Custer Battlefield Museum and Store, 658 F.3d 1188 (9th Cir. 2011), In re

 Search Warrant, No. 16-mc-00464, 2016 WL 7339113 (S.D.N.Y. Dec. 19, 2016), and In

 re New York Times Co., 585 F. Supp. 2d 83 (D.D.C. 2008)).

        Applicants cite only three circuit court decisions that involved requests to unseal

 search warrant materials in an ongoing criminal investigation. In not a single one of those

 cases did the court actually order disclosure of the warrant, warrant application, supporting

 affidavit, or return. See ECF No. 1-1, at 9, 14 (citing Sealed Search Warrants, 868 F.3d at

 397–98 (remanding for consideration under the “case-by-case” analysis), In re Gunn, 855

 F.2d at 574 (affirming district court’s sealing order), and Baltimore Sun, 886 F.2d at 65–

 66 (holding that district court failed to follow proper docketing procedures but finding that

 remand was unnecessary because affidavit had been unsealed on government’s motion)).

 Applicants identify a single, out-of-circuit district court decision that orders partial

 unsealing of a search warrant affidavit in an ongoing investigation. See ECF No. 1-1, at
                                              16
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     18 of 18
                                                                           27 of 27




 10, 17 (citing United States v. All Funds on Deposit at Wells Fargo Bank, 643 F. Supp. 2d

 577 (S.D.N.Y. 2009)). In that case, while the court gave scant reasons for its decision, it

 emphasized Second Circuit caselaw stating that the “presumption of access is ‘of the

 highest’ weight” and that “material ‘should not remain under seal absent the most

 compelling reasons.’” Wells Fargo, 643 F. Supp. 2d at 584 (quoting Lugosch v. Pyramid

 Co. of Onondaga, 435 F.3d 110, 123 (2d Cir. 2006)). As noted above, the Fifth Circuit has

 expressly criticized the Second Circuit’s standard, holding that there is “no basis” to require

 a showing of “compelling circumstances” to support sealing. Belo Broadcasting, 654 F.2d

 at 433–34. The Wells Fargo decision accordingly has no persuasive value in this Circuit.

        Finally, there is no reasonable alternative to sealing. See In re Search Warrants

 Executed on June 14, 2016, 221 F. Supp. 3d at 865–66 (holding that unsealing redacted

 versions of search warrant documents would be “impractical in the particular

 circumstances of this case”). As this Court is aware from its review of the affidavits,

 virtually every sentence contains sensitive information derived from

 and other covert investigative techniques. It would be impossible to redact all such

 information while preserving anything meaningful to be released. See United States v.

 Amadeo, 71 F.3d 1044, 1052 (2d Cir. 1995) (recognizing that where document “has been

 rendered unintelligible as a result of redactions,” it is “more likely to mislead than to inform

 the public”). Similarly, every line of the property receipts attached to the warrant returns

 would have to be redacted to avoid disclosing the government’s efforts to gather evidence.

 As to the warrant applications and the warrants themselves, the code sections and offense
                                               17
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     19 of 19
                                                                           27 of 27




 descriptions—essentially everything except for the boilerplate—would have to be redacted

 to prevent revealing the nature and scope of the government’s investigation




           This Court’s sealing orders expire after 180 days.




                                                                                At the end of

 that period, the government will have to apply to the Court if it wishes to extend the sealing

 orders.        If, by then, the balance of interests has shifted—for example, because the

 government has either brought charges or closed the investigation—then the Court may

 revisit the basis for continued sealing at that time.

           B.       The First Amendment Does Not Support Unsealing

           Nor does the First Amendment support Applicants’ request to unseal the Warrant
                                               18
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     20 of 20
                                                                           27 of 27




 Materials. Although the Fifth Circuit has not yet addressed this issue, three Circuits have

 held that there is no First Amendment right to access documents filed in search warrant

 proceedings, at least in an active criminal investigation. Only the Eighth Circuit has held

 that there is, and even the Eighth Circuit acknowledged that the government’s compelling

 law-enforcement interests could necessitate sealing notwithstanding the public’s First

 Amendment rights.

        In Times Mirror Co. v. United States, 873 F.2d 1210 (9th Cir. 1989), the Ninth

 Circuit applied the Supreme Court’s two-pronged “experience and logic” test. With respect

 to the first prong, it examined the “history of the warrant process in this country” and found

 that “[h]istorical experience . . . furnishes no support for the claimed right of access to

 warrant proceedings in the instance cases.” Id. at 1213–14. “On the contrary,” it

 concluded, “the experience of history implies a judgment that warrant proceedings and

 materials should not be accessible to the public, at least while a pre-indictment

 investigation is still ongoing as in these cases.” Id. at 1214.

        With respect to the second prong, the Ninth Circuit found that the public’s interests

 in disclosure “are more than outweighed by the damage to the criminal investigatory

 process that could result from open warrant proceedings.” Id. at 1215. Like grand jury

 proceedings, it held, “public access would hinder, rather than facilitate the warrant process

 and the government’s ability to conduct criminal investigations.” Id. Finally, the court

 found that its conclusion was reinforced by “the privacy interests of the individuals

 identified in the warrants and supporting affidavits.” Id. at 1216. It explained that “the
                                               19
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     21 of 21
                                                                           27 of 27




 issuance of a warrant . . . may indicate to the public that government officials have reason

 to believe that persons named in the search warrant have engaged in criminal activity.” Id.

 Moreover, “persons named in the warrant papers will have no forum in which to exonerate

 themselves if the warrant materials are made public before indictments are returned.” Id.

        In Baltimore Sun Co. v. Goetz, 886 F.2d 60 (4th Cir. 1989), the Fourth Circuit joined

 the Ninth in holding that “the press does not have a first amendment right of access to an

 affidavit for a search warrant.” Id. at 64–65. The court noted, first, that “the Supreme

 Court has recognized that proceedings for the issuance of search warrants are not open.”

 Id. at 64 (citing Franks v. Delaware, 438 U.S. 154, 169 (1978), and United States v. U.S.

 District Court, 407 U.S. 297, 321 (1972)). Second, it explained that “the need for sealing

 the affidavits may remain after execution” because, for example, “the affidavit may

 describe continuing investigations, disclose information gleaned from wiretaps that have

 not yet been terminated, or reveal the identity of informers whose lives would be

 endangered.” Id. Accordingly, the assertion of a First Amendment right to access a search

 warrant affidavit failed both prongs of the “experience and logic” test. Id.

        The Sixth Circuit reached the same conclusion in In re Search of Fair Finance, 692

 F.3d 424 (6th Cir. 2012). It based its holding “in part on the lack of any evidence that there

 is a historical tradition of such access and in part because that access would be detrimental

 to the search warrant application and criminal investigatory processes.” Id. at 433.

 Regarding the latter rationale, the court identified numerous potential harms that may arise

 from disclosure of search warrant materials, including: that the documents “would likely
                                              20
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     22 of 22
                                                                           27 of 27




 identify information sources, such as wiretaps and undercover operations, the continued

 utility of which will be compromised by disclosure”; that “the safety of confidential

 witnesses may . . . be compromised”; that the “publication of search warrant documents

 may . . . reveal the government’s preliminary theory of the crime being investigated and

 enable criminal suspects to figure out which other places are likely to be searched as the

 investigation continues”; that “publication of search warrant documents . . . could alert

 others that they, too, are suspects and could cause them to destroy evidence or to flee”; that

 “the government would need to be more selective in the information it disclosed in order

 to preserve the integrity of its investigations,” thereby impeding the magistrate judge’s

 “ability to accurately determine probable cause”; and that “the documents might reveal the

 names of innocent people who never become involved in an ensuing criminal prosecution,

 causing them embarrassment or censure.” Id. at 432. In light of all these concerns, the

 court held that the public lacks any First Amendment rights in documents relating to search

 warrant applications, including not only the supporting affidavit but also “docket sheets of

 search warrant proceedings.” Id. at 433. While the Fifth Circuit has not yet addressed this

 question, at least one district court within the Fifth Circuit has adopted the majority view.

 See In re Search Warrants in Connection with Investigation of Columbia/HCA Healthcare

 Corp., 971 F. Supp. at 252 (“It appears to this Court that there exists no First Amendment

 right of public access to sealed documents, particularly in a pre-indictment ongoing

 criminal investigation.”).

        The Eighth Circuit stands alone in recognizing a First Amendment right of public
                                              21
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     23 of 23
                                                                           27 of 27




 access to search warrant materials. In In re Search Warrant for Secretarial Area Outside

 Office of Gunn, 855 F.2d 569 (8th Cir. 1988), the court found, first, that “although the

 process of issuing search warrants has traditionally not been conducted in an open fashion,

 search warrant applications and receipts are routinely filed with the clerk of court without

 seal.” Id. at 573. Second, it found that “public access to documents filed in support of

 search warrants is important to the public’s understanding of the function and operation of

 the judicial process and the criminal justice system and may operate as a curb on

 prosecutorial or judicial misconduct.” Id. Accordingly, it held that the First Amendment

 right of access does extend to search warrant materials, even where the investigation is

 ongoing. Id.

        Nonetheless, recognizing that the First Amendment right of access “is not absolute,”

 the Eight Circuit held that the government’s compelling interests outweighed that right on

 the facts before it. Id. at 574. After reviewing the “affidavits and other materials attached

 to the search warrants,” the court concluded that the “government has demonstrated that

 restricting public access to these documents is necessitated by a compelling government

 interest—the on-going investigation.” Id. Because the affidavits described in detail “the

 nature, scope and direction of the government’s investigation and the individuals and

 specific projects involved,” there was “a substantial probability that the government’s on-

 going investigation would be severely compromised if the sealed documents were

 released.” Id. Moreover, the court agreed with the district court’s determination that “line-

 by-line redaction of the sealed documents was not practicable,” as “[v]irtually every page
                                              22
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     24 of 24
                                                                           27 of 27




 contains multiple references to wiretapped telephone conversations or to individuals other

 than the subjects of the search warrants or reveals the nature, scope and direction of the

 government’s on-going investigation.” Id. Accordingly, the court affirmed the district

 court’s decision to seal the warrant materials.

        This Court should follow the overwhelming weight of authority to hold that there is

 no First Amendment right of public access to warrant materials in an ongoing investigation.

 The claimed right fails both prongs of the “experience and logic” test. First, there is no

 historical tradition of access to search warrant proceedings. As the Supreme Court has

 recognized, “a warrant application involves no public or adversary proceedings: it is an ex

 parte request before a magistrate or judge.” U.S. District Court, 407 U.S. at 321; see also

 Franks, 438 U.S. at 169 (“The pre-search proceeding is necessarily ex parte, since the

 subject of the search cannot be tipped off to the application for a warrant lest he destroy or

 remove evidence.”). In finding to the contrary, the Eighth Circuit relied on the fact that

 “search warrant applications and receipts are routinely filed with the clerk of court without

 seal.” In re Gunn, 855 F.2d at 573. But that does not mean that there is a historical tradition

 of access to such materials. As the Ninth and Sixth Circuits recognized, the government

 “has always been able to restrict access to warrant materials by requesting a sealing order,

 which courts have granted freely upon a showing that a given criminal investigation

 requires secrecy.” Times Mirror, 873 F.2d at 1214; see also In re Search of Fair Finance,

 692 F.3d at 430–31 (same).

        Second, the “logic” prong requires the court to assess “‘whether public access plays
                                               23
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     25 of 25
                                                                           27 of 27




 a significant positive role in the functioning of the particular process in question.’” In re

 Hearst Newspapers, 641 F.3d at 175 (quoting Press Enterprise II, 478 U.S. at 8). In finding

 that this prong was met, the Eighth Circuit observed that public access to search warrant

 materials would promote values of transparency and accountability. See In re Gunn, 855

 F.2d at 573. But it failed to consider the negative effects of public access on the functioning

 of the search warrant process, such as compromising ongoing investigations and exposing

 unindicted individuals to reputational harm.        The Eighth Circuit found that those

 compelling interests were present on the facts of In re Gunn, see id. at 574, but it failed to

 recognize that such interests exist whenever there is an ongoing investigation. Indeed, as

 the Ninth Circuit recognized, “warrant proceedings are indistinguishable from grand jury

 proceedings, which the Supreme Court has identified as the ‘classic example’ of the type

 of ‘government operation [] that would be totally frustrated if conducted openly.’” Times

 Mirror, 873 F.2d at 1215 (quoting Press-Enterprise II, 478 U.S. at 9); see also In re Search

 of Fair Finance, 692 F.3d at 432 (listing harms that could follow from disclosure of search

 warrant materials in ongoing investigations); Baltimore Sun Co., 886 F.2d at 64 (same).

 Thus, although public access to warrant materials may promote legitimate values, the

 severe harms that would inevitably ensue preclude a finding that “public access plays a

 significant positive role in the functioning” of the search warrant process. In re Hearst

 Newspapers, 641 F.3d at 175.

        Even if the Court were to recognize a First Amendment right of public access to

 search warrant materials, it should find that compelling governmental and individual
                                               24
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     26 of 26
                                                                           27 of 27




 interests outweigh that right on the facts of this case. As discussed above with respect to

 the common-law balancing test, compelling law-enforcement, due process, and privacy

 interests all weigh in favor of sealing in this case, and there is no reasonable alternative to

 sealing. See supra, Section IV.A.

 V.     CONCLUSION

        The Application to unseal the Warrant Materials should be denied. In light of the

 ex parte nature of the proceedings, no hearing is necessary. Because the Court’s statement

 of reasons for its decision would necessarily reveal nonpublic information, the Court

 should file its opinion under seal. See Sealed Search Warrants, 868 F.3d at 397 n.5 (“To

 the extent that the district court would have difficulty explaining its reasoning without

 disclosing sensitive information from the affidavits, it may file its reasoning under seal.”).




                                               25
CaseCase
    5:22-mc-00111  Document
         5:22-mc-00111      7 *SEALED*
                       Document  18 Filed Filed on 09/09/22
                                          on 12/13/22       in TXSD
                                                       in TXSD   PagePage
                                                                     27 of 27
                                                                           27 of 27




                                                   Respectfully submitted,

                                                   COREY R. AMUNDSON
                                                   Chief, Public Integrity Section
                                                   U.S. Department of Justice


                                             By:   /s/ Celia Choy
                                                   CELIA CHOY
                                                   D.C. Bar No. 1017211
                                                   Trial Attorney
                                                   Public Integrity Section
                                                   U.S. Department of Justice
                                                   1301 New York Avenue, NW
                                                   Washington, D.C. 20530
                                                   Tel: (202) 875-1557
                                                   Fax: (202) 514-3003
                                                   celia.choy@usdoj.gov




                                        26
